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   IT IS ORDERED as set forth below:



   Date: September 26, 2018
                                              _________________________________

                                                         Sage M. Sigler
                                                  U.S. Bankruptcy Court Judge

  ________________________________________________________________
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